Case 2:06-cr-20027-PM-KK   Document 165   Filed 04/23/07   Page 1 of 7 PageID #:
                                    411
Case 2:06-cr-20027-PM-KK   Document 165   Filed 04/23/07   Page 2 of 7 PageID #:
                                    412
Case 2:06-cr-20027-PM-KK   Document 165   Filed 04/23/07   Page 3 of 7 PageID #:
                                    413
Case 2:06-cr-20027-PM-KK   Document 165   Filed 04/23/07   Page 4 of 7 PageID #:
                                    414
Case 2:06-cr-20027-PM-KK   Document 165   Filed 04/23/07   Page 5 of 7 PageID #:
                                    415
Case 2:06-cr-20027-PM-KK   Document 165   Filed 04/23/07   Page 6 of 7 PageID #:
                                    416
Case 2:06-cr-20027-PM-KK   Document 165   Filed 04/23/07   Page 7 of 7 PageID #:
                                    417
